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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA

 PROTÉGÉ BIOMEDICAL, LLC                        Civil No. 0:18-cv-03227-JRT-HB

                       Plaintiff,
                                                FINAL CONSENT JUDGMENT AND
 v.                                             PERMANENT INJUNCTION

 Z-MEDICA, LLC,

                       Defendant.

       Plaintiff Protégé Biomedical, LLC (“Protégé”) and Z-Medica, LLC (“Z-Medica”)

(collectively, the “Parties”) hereby stipulate and jointly move for entry of final judgment

as follows:

      1.       This Court has subject matter jurisdiction over this action as well as personal

jurisdiction over the Parties.

      2.       Z-Medica owns U.S. Patent No. 10,086,106 (“the ’106 Patent”).

      3.       The ’106 Patent is valid and enforceable.

      4.       Protege has infringed the ’106 patent by making, using, selling, offering for

sale, and/or importing into the United States the Protégé Ionic Hemostatic Mineral

Technology Bandage product in all forms, including but not limited to adhesive bandages,

gauze, and vet gauze (“IHM Bandage”).

      5.       Protege, together with its officers, directors, agents, servants, employees,

representatives, successors, and affiliates, and all other persons acting or attempting to

act in concert or participation with them, are permanently enjoined and restrained from
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making, using, selling, offering to sell, or importing into the United States, the IHM

Bandage and any product that is no more than colorably different than the IHM Bandage

during the term of the ’106 Patent.

    6.       Protégé’s claims for declaratory judgment of non-infringement of U.S.

Patent Nos. 8,257,732, 8,383,148, 8,784,876, 9,078,782, and 9,821,084 are dismissed

without prejudice.

    7.       All other claims, counterclaims, and defenses in the action are dismissed

with prejudice.

    8.       The Parties affirmatively waive any and all rights to appeal this Final Consent

Judgment and Permanent Injunction.

    9.       This Court retains jurisdiction over the Parties to enforce compliance with

this Final Consent Judgment and Permanent Injunction.

   10.       Each party will bear its own costs and attorneys’ fees for this action.




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Dated: August 3, 2020               LOCKRIDGE GRINDAL NAUEN P.L.L.P.


                                    s/Charles N. Nauen
                                    Charles N. Nauen (#121216)
                                    Rachel A. Kitze Collins (#0396555)
                                    100 Washington Avenue South, Suite 2200
                                    Minneapolis, MN 55401-2159
                                    (612) 339-6900
                                    cnnauen@locklaw.com
                                    rakitzecollins@locklaw.com

                                    Philip J. O’Beirne (pro hac vice)
                                    Michael A. Petrino (pro hac vice)
                                    STEIN MITCHELL BEATO & MISSNER LLP
                                    901 15th Street NW, Suite 700
                                    Washington D.C. 20005
                                    (202) 737-7777
                                    pobeirne@steinmitchell.com
                                    mpetrino@steinmitchell.com

                                    Ali S. Razai (pro hac vice)
                                    Joseph F. Jennings (pro hac vice)
                                    Jeremiah S. Helm, Ph.D. (pro hac vice)
                                    Karen M. Cassidy (pro hac vice)
                                    KNOBBE MARTENS OLSON & BEAR LLP
                                    2040 Main Street, 14th Floor
                                    Irvine, CA 92614
                                    (949) 760-0404
                                    Ali.razai@knobbe.com
                                    Joe.jennings@knobbe.com
                                    Jeremiah.helm@knobbe.com
                                    Karen.cassidy@knobbe.com

                                    ATTORNEYS FOR DEFENDANT
                                    Z MEDICA, LLC




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 Dated: August 3, 2020               TAFT STETTINIUS & HOLLISTER LLP


                                     s/Kristine M. Boylan
                                     Kristine M. Boylan (#0284634)
                                     Elizabeth M. Brama (#0301747)
                                     Lauren E. Lonergan (#143443)
                                     Jack Y. Perry (#209272)
                                     Matthew R. Brodin (#0386580)
                                     Andrew S. Dosdall (#391076)
                                     O. Joseph Balthazor Jr. (#0399093)
                                     2200 IDS Center
                                     80 South Eighth Street
                                     Minneapolis, MN 55402
                                     (612) 977-8400
                                     kboylan@taftlaw.com
                                     ebrama@taftlaw.com
                                     llonergan@taftlaw.com
                                     jperry@taftlaw.com
                                     mbrodin@taftlaw.com
                                     adosdall@taftlaw.com
                                     jbalthazor@taftlaw.com

                                     ATTORNEYS FOR PLAINTIFF PROTÉGÉ
                                     BIOMEDICAL, LLC


IT IS SO ORDERED AND DECREED, AND FINAL JUDGMENT IS HEREBY ENTERED



Dated: August 13, 2020
at Minneapolis, Minnesota          s/John R. Tunheim
                                   JOHN R. TUNHEIM
                                   Chief Judge
                                   United States District Court




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